         Case 6:23-cv-00590-ADA Document 10 Filed 11/08/23 Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 WACO DIVISION




         Patent Armory Inc.,                            Case No. 6:23-cv-00590-ADA

                Plaintiff,                              Patent Case

                v.                                      Jury Trial Demanded

         Airbnb, Inc.,

                Defendant.



                  PLAINTIFF'S NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE


       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff hereby dismisses this

action with prejudice. Defendant has not yet answered the Complaint or moved for summary

judgment.

       Each party shall bear its own costs, expenses, and attorneys’ fees.



Dated: November 8, 2023                      Respectfully submitted,

                                             /s/ Isaac Rabicoff
                                             Isaac Rabicoff
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                                             Patent Armory Inc.


                                                1
         Case 6:23-cv-00590-ADA Document 10 Filed 11/08/23 Page 2 of 2




                                     CERTIFICATE OF SERVICE

      The undersigned certifies that a copy of the foregoing document was served on all parties

who have appeared in this case on November 8, 2023 via the Court’s CM/ECF system.



                                           /s/ Isaac Rabicoff
                                           Isaac Rabicoff




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